Case 5:17-cv-05089-TLB Document 101          Filed 09/09/20 Page 1 of 10 PageID #: 887




                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION

JILL DILLARD; JESSA SEEWALD;
JINGER VUOLO; and JOY DUGGAR                                                PLAINTIFFS

V.                              CASE NO. 5:17-CV-5089

CITY OF SPRINGDALE, ARKANSAS;
WASHINGTON COUNTY, ARKANSAS;
KATHY O’KELLEY, in her individual and
official capacities; ERNEST CATE, in his
individual and official capacities; RICK HOYT,
in his individual and official capacities; and
STEVE ZEGA, in his official capacity                                     DEFENDANTS

                       MEMORANDUM OPINION AND ORDER

      Currently before the Court is Plaintiffs’ Motion for Leave to File an Amended

Complaint (Doc. 74). The proposed amended complaint (Doc. 74-1) contains no new

allegations against the current Defendants. Instead, it contains additional information

about former defendants Bauer Publishing Company, L.P., Bauer Magazine, L.P., Bauer

Media Group, Inc., Heinrich Bauer North America, Inc., and Bauer Media Group USA,

LLC (collectively, “the former Bauer defendants”). These entities were dismissed from

the lawsuit on October 12, 2017, pursuant to Federal Rule of Civil Procedure 12(b)(6). 1

Plaintiffs believe they have now stated plausible claims against the former Bauer

defendants and have cured the pleading deficiencies that the Court observed in its earlier

Order of dismissal (Doc. 70). The Court disagrees and DENIES the Motion for the reasons

stated below.




1 All current Defendants filed responses in opposition to the Motion (Docs. 75–77), the
former Bauer defendants filed a response (Doc. 78), and the Plaintiffs filed a reply (Doc.
83). The Motion is now ripe for decision.
                                            1
Case 5:17-cv-05089-TLB Document 101            Filed 09/09/20 Page 2 of 10 PageID #: 888




                                     I. BACKGROUND

       During 2015, the former Bauer defendants published a web and print media tabloid

called “In Touch Weekly.” Also in 2015, the Plaintiffs and their family starred in a popular,

nationally syndicated reality-television show. At some point that year, In Touch Weekly

became aware that the Plaintiffs had been the subjects of a 2006 police investigation

when they were minors. The investigation revealed that the Plaintiffs’ brother, who was

also a minor at the time, had been accused of sexually molesting them. On May 15,

2015, the reporters for the tabloid began submitting Freedom of Information Act (“FOIA”)

requests to the City of Springdale and to Washington County, Arkansas, seeking copies

of the offense and incident reports from 2006, along with any other documents relating to

the investigation.

       On May 19, 2015, the former Bauer defendants caused an article to be published

in In Touch Weekly naming the Plaintiffs’ brother as the former target of an “Underage

Sex Probe,” and promising more details to come in future articles. The next day, the City

released the offense report to In Touch Weekly pursuant to the publication’s FOIA

request. The County released an incident report to the publication the day after that. In

Touch Weekly then published both reports and many articles about the reports. Though

the reports had been redacted by the City and County, they contained enough unredacted

information to permit readers to discover the identifies of the Plaintiffs.

       Plaintiffs filed the instant lawsuit against City and County officials and the former

Bauer defendants on May 18, 2017. The causes of action that were then pending against

the former Bauer defendants included three state-law claims for invasion of privacy and

one claim for the tort of outrage. On August 22, the former Bauer defendants filed a



                                              2
Case 5:17-cv-05089-TLB Document 101           Filed 09/09/20 Page 3 of 10 PageID #: 889




motion to dismiss (Doc. 43), arguing that holding them liable for their newsgathering and

reporting activities in this case would violate the First Amendment. The Court agreed and

dismissed all claims against them on constitutional grounds. The following excerpts from

the Court’s Order of dismissal explain the Court’s reasoning:

              It is rare that this Court is presented with a motion to dismiss that
      may be resolved simply by citing to a solitary controlling Supreme Court
      case. But that is essentially the situation here with respect to the Bauer
      Defendants’ Motions to Dismiss. In Florida Star v. B.J.F., the United States
      Supreme Court reaffirmed that the First Amendment requires that “if a
      newspaper lawfully obtains truthful information about a matter of public
      significance then state officials may not constitutionally punish publication
      of the information, absent a need to further a state interest of the highest
      order.” 491 U.S. 524, 533 (1989) (quoting Smith v. Daily Mail Pub. Co., 443
      U.S. 97, 103 (1979)) (alterations omitted).

              In that case, a local police department had inadvertently included a
      rape victim’s name in a report that was made publicly available in a police
      station press room. See id. at 527. A newspaper then published the name
      of that rape victim in an article, in contravention of not only a Florida statute
      but also the newspaper’s own internal policies. See id. at 527–28. The
      victim sued the newspaper and won a verdict at trial, but the Supreme Court
      reversed. See id. at 528–29. The Court reasoned that the published
      information was true, id. at 536, that it was obtained lawfully, id., and that
      the newspaper was entitled to presume that it was on a matter of public
      significance since it concerned a crime and was information that the police
      department saw fit to disclose in the first place, see id.; cf. id. at 535
      (“[W]here the government has made certain information publicly available,
      it is highly anomalous to sanction persons other than the source of its
      release. . . . By placing the information in the public domain on official court
      records, the State must be presumed to have concluded that the public
      interest was thereby being served.” (internal quotation marks omitted)).
      Similarly, the Court found that imposing liability on the newspaper in
      question was not a “narrowly tailored” means of effectuating “a state interest
      of the highest order,” see id. at 541, since “the government itself provide[d]
      [the] information to the media,” see id. at 538. “Where, as here, the
      government has failed to police itself in disseminating information, it is clear
      . . . that the imposition of damages against the press for its subsequent
      publication can hardly be said to be a narrowly tailored means of
      safeguarding anonymity.” Id.

             Here, . . . none of the Plaintiffs allege that the Bauer Defendants ever
      published untruthful information about them. They acknowledge that the

                                             3
Case 5:17-cv-05089-TLB Document 101             Filed 09/09/20 Page 4 of 10 PageID #: 890




       Bauer Defendants submitted FOIA requests to the City and the County, and
       that the Springdale and Washington County Defendants provided the
       reports of the police investigation pursuant to those FOIA requests. Under
       the reasoning of Florida Star, the Bauer Defendants were entitled to assume
       that the information contained therein was a matter of public significance,
       since it was disclosed by public entities pursuant to a statute that is explicitly
       designed to effectuate a public policy in favor of disclosing public records.
       And even if one assumes that the disclosures failed to comply with
       Arkansas statutory redaction requirements, Florida Star is clear that the
       Bauer Defendants cannot be held liable for the City’s and County’s failure
       to follow the law. Although the Court in Florida Star was very careful to
       emphasize that its holding was “relying on limited principles that sweep no
       more broadly than the appropriate context of the instant case,” id. at 533,
       that “appropriate context” is so strongly analogous to the facts alleged in
       [this Complaint] that this Court believes it cannot permit the Bauer
       Defendants to be held liable for their conduct here without defying binding
       Supreme Court precedent.

(Doc. 70, pp. 6–8).

       All claims against the former Bauer defendants were dismissed on October 12,

2017. On October 26, 2017, the Plaintiffs filed the instant Motion and proposed amended

complaint. 2 The Plaintiffs have added certain facts to the original Complaint in an attempt

to show that the former Bauer defendants’ conduct in this case does not fall within the

ambit of protected First Amendment speech. In particular, the Plaintiffs point out that First

Amendment protection should only be granted under Florida Star for printing information

that was “lawfully obtained.” 491 U.S. at 536 (citation omitted). They contend that the

new facts in their proposed amended complaint demonstrate that the information

published was not lawfully obtained because the reporters essentially colluded with



2 The Court stayed the case on October 25, 2017 (Doc. 73), just after the City and County
Defendants filed an interlocutory appeal of the Court’s decision to deny them qualified
immunity. The case remained stayed until July 7, 2020, the date the Court received the
Eighth Circuit’s mandate and judgment on the interlocutory appeal. (Doc. 89). On July
29, 2020, the Court held a telephonic status conference with the parties, and counsel for
the Plaintiffs and counsel for the former Bauer defendants presented oral argument on
the pending Motion. The Court then took the matter under advisement.
                                               4
Case 5:17-cv-05089-TLB Document 101            Filed 09/09/20 Page 5 of 10 PageID #: 891




unnamed sources in law enforcement to violate state law.            Plaintiffs claim that the

reporters “solicited and encouraged individuals to commit unlawful acts and illegally

disclose the confidential information contained in the Offense and Incident Reports” and

thereby failed to obtain information about the case lawfully. (Doc. 83, p. 5).

       The former Bauer defendants point out in their response that the Plaintiffs have

introduced no newly discovered facts but have instead reframed or recharacterized the

original facts to attempt to distinguish them from Florida Star. They believe the Court

should deny the Motion for Leave to Amend as futile, and they assert that the facts as

pleaded in the proposed amended complaint still do not show that they unlawfully

obtained the information that they printed about the Plaintiffs.

                                  II. LEGAL STANDARD

       Under Rule 15(a)(2), a court “should freely give leave [to amend] when justice so

requires.” Fed. R. Civ. P. 15(a)(2). However, this policy is not absolute, and leave may

be denied “where it will result in ‘undue delay, bad faith or dilatory motive on the part of

the movant, repeated failure to cure deficiencies by amendments previously allowed,

undue prejudice to the opposing party by virtue of allowance of the amendment, [or] futility

of amendment.’” Dennis v. Dillard Dep’t Stores, Inc., 207 F.3d 523, 525 (8th Cir. 2000)

(quoting Foman v. Davis, 371 U.S. 178, 182 (1962)). “A court can deny leave to amend

as futile where the amended pleading would not survive a motion to dismiss.” Sentell v.

RPM Mgmt. Co., 653 F. Supp. 2d 917, 919 (E.D. Ark. 2009) (citing Owen v. Gen. Motors

Corp., 533 F.3d 913, 921 (8th Cir. 2008)). To survive a motion to dismiss, a complaint

“must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp.



                                              5
Case 5:17-cv-05089-TLB Document 101           Filed 09/09/20 Page 6 of 10 PageID #: 892




v. Twombly, 550 U.S. 544, 570 (2007)). In evaluating the sufficiency of a complaint, the

court assumes that “all factual allegations in the pleadings are true and interpret[s] them

in the light most favorable to the nonmoving party.” Bell v. Pfizer, Inc., 716 F.3d 1087,

1091 (8th Cir. 2013) (internal quotation omitted).

                                     III. DISCUSSION

       Plaintiffs introduce their Motion by asserting that the Court misconstrued the facts

in their original Complaint. In order to “clarify their allegations,” the Plaintiffs amended

the facts in an attempt to show “that [the former Bauer defendants] did not ‘lawfully obtain’

Plaintiffs information and therefore, Bauer Defendants’ conduct is not protected by the

First Amendment.”     (Doc. 74, p. 2).    The proposed amendments appear in eleven

paragraphs in the proposed new pleading; however, many of the changes are duplicative,

so the Court has grouped and summarized them below.

       Paragraphs 4, 46, 49, 88, 92, 101, and 112 have been revised to describe in

greater detail how the former Bauer defendants’ reporters secured an unnamed source

or sources inside the City’s police department and/or the County’s sheriff’s department

who was leaking information to them about the 2006 sexual assault investigation. The

Plaintiffs claim this source was leaking information to the reporters before the City and

County released redacted police reports and investigation materials to In Touch Weekly

in response to FOIA requests. For example, Paragraph 4’s amended language explains

that the reporters “began soliciting and encouraging” the source or sources “to disclose

such information in violation of law,” (Doc. 74-1, p. 3), and that the reporters continued to

do this even though law enforcement’s official position to date had been “that the




                                             6
Case 5:17-cv-05089-TLB Document 101             Filed 09/09/20 Page 7 of 10 PageID #: 893




information about the matter was confidential and not subject to disclosure.” Id. at pp. 22–

23.

       The amendments to Paragraphs 51, 54, and 55 do little more than quote from

articles published by In Touch Weekly about the investigation. The existence of these

articles is not new, and the articles were, in fact, mentioned in the original Complaint. The

articles were published on May 19 and 20, 2015, before the FOIA requests were officially

fulfilled, and they include certain information about the 2006 investigation that was leaked

by an unnamed source or sources “who saw and read the Reports.” Id. at p. 13. The

reporters acknowledge that law enforcement officials refused to identify themselves on

the record and make an official statement about the case because they claimed that

“Arkansas law prohibits any comment about confidential information regarding a minor.”

Id. at p. 14.

       As for new paragraph 125, this states that the reporters from In Touch Weekly

knew that Arkansas law prohibited law enforcement from commenting about the

confidential information of minors and of sexual assault victims, but the reporters

“nevertheless solicited and disclosed” this information “in violation of the law for the

purposes of disclosing it publically [sic] and obtaining financial gain.” Id. at p. 30.

       The Court finds that the proposed amendments to the Complaint, taken as true,

still do not plausibly state any valid claim for relief. This is because there are no facts that

indicate that the information the former Bauer defendants received from both confidential

informants within law enforcement and from responses to FOIA requests was not lawfully

obtained. As the Court explained in its earlier dismissal Order, “Florida Star is clear that

the Bauer Defendants cannot be held liable for the City’s and County’s failure to follow



                                               7
Case 5:17-cv-05089-TLB Document 101          Filed 09/09/20 Page 8 of 10 PageID #: 894




the law.” (Doc. 70, p. 8). Even if the former Bauer defendants knew that their sources

were leaking confidential information in violation of law and in violation of the City and

County’s policies—and even if they encouraged the leaks—that does not mean the former

Bauer defendants violated the law. No party has offered, nor does the Court find, that

these facts place the former Bauer defendants in violation of any specific state or federal

law.

       The “new” facts in the proposed amended pleading are not new; they were not

discovered after the Court issued its earlier Order of dismissal. Instead, Plaintiffs have

simply reframed the old facts to try to create the inference that since the reporters knew

their sources were disclosing private information about the Plaintiffs contrary to law, the

reporters’ encouragement of these sources and solicitation of this information was, itself,

unlawful. There is no precedent for such a sweeping view of the press’s liability. Under

these facts, the only potential wrongdoers were those in law enforcement who disclosed

the sensitive information to the press, not the members of the press who asked them for

that information. In other words, what happened here was that “the government . . . failed

to police itself in disseminating information,” not that the press engaged in wrongdoing by

receiving and then publishing the information. Florida Star v. B.J.F., 491 U.S. 524, 538

(1989). There is nothing unlawful about a reporter receiving information from a

confidential source who is employed by state law enforcement and has access to police

reports. “Where the government itself provides information to the media, it is most

appropriate to assume that the government had, but failed to utilize, far more limited

means of guarding against dissemination than the extreme step of punishing truthful

speech.” Florida Star, 491 U.S. at 538.



                                            8
Case 5:17-cv-05089-TLB Document 101            Filed 09/09/20 Page 9 of 10 PageID #: 895




       The Plaintiffs rely on Peavy v. WFAA-TV, Inc., a decision published by the Fifth

Circuit about a month after Florida Star was decided, for the proposition that when a

reporter encourages a private individual to commit an unlawful act—which in that case

was the recording of private telephone conversations in violation of the federal

wiretapping laws—the First Amendment will not shield the reporter’s conduct. 221 F.3d

158 (5th Cir. 2000). However, the reporter’s conduct in Peavy is distinguishable from the

reporters’ conduct in the instant case. The reporter in Peavy was alleged to have taken

an active role in his source’s illegal activity because he “instructed the [source] not to turn

the tape recorder on and off while recording intercepted conversations, and not to edit

them, so that the tapes’ authenticity could not be challenged.” Id. at 164 (emphasis in

original). Indeed, the Supreme Court in Bartnicki v. Vopper described Peavy as a case

in which “the media defendant in fact participated in the interceptions at issue.” 532 U.S.

514, 522 n.5 (2001) (emphasis added). By contrast, there are no facts in the proposed

amended complaint that indicate that the reporters “participated” in the act of reading

police reports and investigation notes and then printing that information. The reporters in

the case at bar merely asked for the information, and certain law enforcement personnel

leaked it to the reporters. Even if the reporters “had reason to know” that the information

they received was obtained contrary to law, their “access to the information . . . was

obtained lawfully, even though the information itself was intercepted unlawfully by

someone else.” Id. at 525 (citing to Florida Star, 491 U.S. at 536).

       For these reasons, the Court finds that permitting the Plaintiffs to file the proposed

amended complaint would be futile. The allegations against the previously dismissed

defendants have not materially changed; instead, the Plaintiffs have rephrased or



                                              9
Case 5:17-cv-05089-TLB Document 101          Filed 09/09/20 Page 10 of 10 PageID #: 896




reframed the same facts so as to insinuate that the defendants obtained information

unlawfully or otherwise participated in the allegedly unlawful conduct that the City and

County engaged in when their officers divulged the sensitive information. As explained

herein, the Court finds that none of the “new” facts alleged show that the reporters working

for the former Bauer defendants participated in illegal activity in order to obtain the

information that was disclosed to them by sources within law enforcement and by official

FOIA requests. The new claims against the former Bauer defendants would be subject

to dismissal for the same reasons they were dismissed earlier.

                                   IV. CONCLUSION

       IT IS THEREFORE ORDERED that the Plaintiffs’ Motion for Leave to File an

Amended Complaint (Doc. 74) is DENIED.

       IT IS SO ORDERED on this 9th day of September, 2020.



                                                 ________________________________
                                                 TIMOTHY L. BROOKS
                                                 UNITED STATES DISTRICT JUDGE




                                            10
